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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


INRE:                                                 §
                                                      §             CASE NO. 15-41669-BTR
WINGSPAN PORTFOLIO                                    §
HOLDINGS, INC.,                                       §                       (Chapter 7)
                                                      §
                   DEBTOR.                            §


                         AGREED STIPULATION ON THE FILING
                    OF ANY PROOF OF CLAIM FILED BY STEVE HORNE


        PLEASE TAKE NOTICE that Michelle H. Chow, Chapter 7 Trustee for the Bankruptcy

Estate of Wingspan Portfolio Holdings, Inc. ("Trustee") and Steve Home ("Home"), hereby stipulate

and agree that the Trustee will not object to any proof of claim filed by Home on the ground of

timeliness so long as such claim is filed by September 8, 2017 in the above-referenced case. This

agreement is not a waiver of any other objections the Trustee may have to any claim filed by Home in

the above-referenced case and thls Stipulation shall not be construed as an agreement for any allowed

claim. The Trustee reserves and preserves all of her rights to object to any claim filed by Home in the

above-referenced case on any other grounds.




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                                                 Respectfully submitted,


                                                 By:     T0012b
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                                                 A TIORNEYS FOR
                                                 MICHELLE H. CHOW, CHAPTER 7 TRUSTEE




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                                                           .. ~
                                                 Steve Horne




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